           Case 2:06-cr-00035-MCE Document 193 Filed 05/02/07 Page 1 of 2


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 7

 8                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10

11   United States of America,             ) Case No. 2:06-cr-00035-MCE
               Plaintiff,                  )
12        vs.                              ) Hon. Morrison C. England, Jr.
                                           )
13
     Zachary Jenson,                       ) Stipulation and Order Re:
14
               Defendant                   ) Modification of Defendant’s
                                           ) Release Conditions
15                                         )
                                           )
16                                         )
17

18         Zachary Jenson pled guilty on July 18, 2006 to one count

19   of Conspiracy in violation of 18 U.S.C. § 371.           Mr. Jenson was
20
     released on conditions in July of 2006.        Mr. Jenson has been out
21
     of custody for approximately ten months.        Mr. Jenson has
22
     observed all rules and regulations set by pre-trial services.
23

24   Mr. Jenson has been on home confinement without permission to

25   use a computer.   Mr. Jenson is an avid writer.          The government
26
     and pre-trial services have no objection to Mr. Jenson’s request
27
     that he be allowed to use a computer without any internet
28



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          Case 2:06-cr-00035-MCE Document 193 Filed 05/02/07 Page 2 of 2


     access.   Mr. Jenson’s non-internet computer use will at all
 1

 2   times be subject to the supervision of pre-trial services.            The

 3   government has no objection to Mr. Jenson’s computer use without
 4
     internet access.   Therefore the parties request that this Court
 5
     sign the attached order allowing a modification of conditions so
 6
     that Mr. Jenson may use a non-internet connected computer,
 7

 8   subject to approval by pre-trial services and under the

 9   direction and guidance of pre-trial services.
10

11
     Dated: April 17, 2007                    Respectfully submitted,
12

13
                                              _/s/ Shari Rusk______
14
                                              Shari Rusk
                                              Attorney for Defendant
15                                            Zachary Jenson
16

17
     Dated: April 17, 2007                  _/s/ Ellen Endrizzi
                                              Ellen Endrizzi
18                                            Assistant United States
                                               Attorney
19

20
                                ORDER
21
          It is so ordered that Zachary Jenson be permitted to use a
22

23
     computer with no internet access while on pre-trial release.

24    DATED: May 2, 2007
25                                 __________________________________
26
                                   MORRISON C. ENGLAND, JR
                                   UNITED STATES DISTRICT JUDGE
27

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